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                                 IN THE UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF ARKANSAS
                                         HOT SPRINGS DIVISION


                 TERRY D. TOLER, DONNA R. TOLER,
                 MARKETPLACE DEVELOPMENT CORPORATION
                 and SUCCESS DYNAMICS, INC. d/b/a
                 ALL PRO CLASSICS                                               PLAINTIFFS


                        v.                 CASE NO. 12-6032


                 PHH MORTGAGE CORPORATION and
                 EXPERIAN INFORMATION SOLUTIONS, INC.                           DEFENDANTS

                                          MEMORANDUM OPINION

                        Before the Court are Plaintiffs’ Motion for Partial Summary

                 Judgment (docs. 144-46, 157-63, 192), Experian’s Response (docs.

                 173-74, 176), PHH’s Response (docs. 180-81), Plaintiffs’ Reply

                 (docs. 186-91), PHH Mortgage Corporation’s (“PHH”) Motion for

                 Summary     Judgment   Regarding     Success     Dynamics,     Inc.    and

                 Marketplace        Development         Corporation          (“corporate

                 Plaintiffs”)(docs. 147-48), PHH’s Reply (doc. 184), PHH’s Motion

                 for Partial Summary Judgment Regarding Terry and Donna Toler

                 (“the Tolers”)(docs. 149-51), PHH’s Reply (doc. 185), Experian

                 Information Solutions, Inc.’s (“Experian”) Motion for Summary

                 Judgment as to Corporate Plaintiffs and Business Damages (docs.

                 152-53), Experian’s Reply (doc. 193), and Experian’s Motion for

                 Summary Judgment as to the Tolers and All Other Damages (docs.

                 154-56, 164).     Also before the Court is Plaintiffs’ combined

                 response to all of Defendants’ Motions (docs. 167-72, 175, 177-

                 79).


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                     I.    Background

                           Plaintiffs’ Complaint was originally filed in the Circuit

                     Court of Garland County, Arkansas, on January 31, 2012 by the

                     Tolers against PHH, Experian and Federal National Mortgage

                     Association (“Fannie Mae”).1        Defendants removed the action to

                     this Court on March 1, 2012.         (Doc. 1).        An Amended Complaint

                     (doc. 72) was filed on April 30, 2013, adding Plaintiffs’

                     businesses, Success Dynamics, Inc. d/b/a All Pro Classics, and

                     Marketplace Development Corporation as Plaintiffs and again

                     naming Fannie Mae as a defendant.2

                           The Tolers allege claims against Defendants for violations

                     of the Fair Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681, et

                     seq.,   and   the   corporate    Plaintiffs    allege      claims    against

                     Defendants under Arkansas law for tortious interference with

                     business expectancies.

                           The Tolers’ FCRA claims stem from alleged inaccurate credit

                     information     reported    by   their   mortgage       company,    PHH,   to

                     Experian,     and   Experian’s    furnishing     of     that   information,

                     specifically, that the Tolers were delinquent on their mortgage

                     payments.

                     II.   Standard of Review

                           A motion for summary judgment will be granted when “there


               1
                   Fannie Mae was previously dismissed from this action.    (Doc. 36)
               2
                   Fannie Mae was again dismissed from this action on March 26, 2014. (Doc. 105)

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                 is no genuine issue as to any material fact and . . . the moving

                 party is entitled to judgment as a matter of law.”                 Fed. R. Civ.

                 P. 56(c).        A “material” fact is one “that might affect the

                 outcome of the suit under the governing law . . . .”                  Anderson

                 v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).                  A “genuine”

                 issue of material fact exists when there is sufficient evidence

                 favoring the party opposing the motion for a jury to return a

                 verdict    for    that    party.      Anderson,    477   U.S. at     248.    In

                 determining whether a genuine issue of material fact exists, the

                 evidence is to be viewed in the light most favorable to the

                 nonmoving party.         Adickes v. S.H. Kress & Co., 398 U.S. 144, 157

                 (1970).

                       If   the      moving    party    meets      the    initial    burden   of

                 establishing the nonexistence of a genuine issue, the burden

                 then shifts to the opposing party to produce evidence of the

                 existence of a genuine issue of fact for trial.                Celotex Corp.

                 v. Catrett, 477 U.S. 317, 322-23 (1986).                  The opposing party

                 “may not rest upon mere allegation or denials of his pleading,

                 but must set forth specific facts showing that there is a

                 genuine issue for trial,” and “must present affirmative evidence

                 in order to defeat a properly supported motion for summary

                 judgment.”       Anderson, 477 U.S. at 256-57 (citing Fed. R. Civ. P.

                 56(e)).    In order to withstand a motion for summary judgment,

                 plaintiffs must substantiate their allegations with “sufficient


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                 probative evidence [that] would permit a finding in [their]

                 favor on more than mere speculation, conjecture, or fantasy.”

                 Gregory v. Rogers, 974 F.2d 1006, 1010 (8th Cir. 1992), cert.

                 denied, 507 U.S. 913 (1993).         A mere scintilla of evidence is

                 insufficient to avoid summary judgment.             Moody v. St. Charles

                 County, 23 F.3d 1410, 1412 (8th Cir. 1994).          Rule 56(c) mandates

                 the entry of summary judgment, after adequate time for discovery

                 and upon motion, against a party who fails to make a showing

                 sufficient to establish the existence of an element essential to

                 that party’s case, and on which that party will bear the burden

                 of proof at trial.     Celotex, 477 U.S. at 322.

                 III. Discussion

                       In their Motion for Partial Summary Judgment, Separate

                 Plaintiffs   Terry   and   Donna    Toler   seek    summary   judgment    on

                 Defendants’ liability under the FCRA.               Having reviewed the

                 pleadings and the evidence on file; viewing the evidence in the

                 light most favorable to the non-moving party as required, the

                 Court finds genuine issues of disputed material facts remain in

                 connection with the Tolers’ FCRA claims including, but not

                 limited    to,   whether   PHH     and   Experian    failed   to   conduct

                 reasonable investigations of the Tolers’ disputes, and whether

                 Experian failed to follow reasonable procedures to ensure the

                 accuracy of the Tolers’ credit information it reported, and, if

                 so, what damages were proximately caused by Defendants’ failures


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                 to do so.    Accordingly, the Tolers’ motion (doc. 144) should be

                 DENIED.     Additionally, Experian’s motion (doc. 154) as to the

                 Tolers’ FCRA claims is DENIED to the extent it seeks a judgment

                 as a matter of law on the issue of liability pursuant to the

                 FCRA.

                       PHH moves for summary judgment on the corporate Plaintiffs’

                 tortious interference claims contending they are preempted by

                 the FCRA and, alternatively, that the corporate Plaintiffs

                 failed to establish a prima facie case of tortious interference

                 (doc. 147).     The FCRA was enacted, in large part, to protect

                 consumers by ensuring “fair and accurate credit reporting.”              15

                 U.S.C. § 1681(a)(1).      The FCRA’s preemption provisions are as

                 follows:

                       No requirement or prohibition may be imposed under the
                       laws of any State with respect to any subject matter
                       regulated under section 1681s-2 of this title,
                       relating to the responsibilities of persons who
                       furnish information to consumer reporting agencies,
                       except that this paragraph shall not apply to [certain
                       inapplicable state statutes.]

                 15 U.S.C. § 1681t(b)(1)(F).

                       [N]o consumer may bring any action or proceeding in
                       the nature of defamation, invasion of privacy, or
                       negligence   with   respect   to  the   reporting   of
                       information   against...any   person   who   furnishes
                       information to a consumer reporting agency...except as
                       to false information furnished with malice or willful
                       intent to injure such consumer.

                 15 U.S.C. § 1681h(e).




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                        PHH contends the corporate Plaintiffs’ tort claims are

                 preempted and cites Ilodianya v. Capital One Bank USA NA, 853

                 F.Supp.2d 772 (E.D. Ark. 2012) and Cathcart v. American Exp.,

                 2012    WL    5258820   (E.D.     Mo.       October   23,   2012)    for   this

                 proposition.       The Court finds these cases inapposite to the

                 instant case, as the state claims found to be preempted in those

                 cases were brought by the consumer whose relief was governed by

                 the FCRA.       It has been Defendants’ position throughout this

                 litigation that the corporate Plaintiffs are not “consumers”

                 under the FCRA and, therefore, are prohibited from bringing FCRA

                 claims.      While a consumer’s tortious interference claim may well

                 be preempted under the FCRA absent a showing of malice or

                 willful intent to injure the consumer, it is unlikely that these

                 provisions were intended to completely preempt any cause of

                 action by a potential plaintiff.              Accordingly, the Court finds

                 that the preemption provisions of the FCRA do not apply to the

                 corporate Plaintiffs.      Thus, the corporate Plaintiffs’ tortious

                 interference claims are not preempted by the FCRA, and PHH’s

                 motion (doc. 147) is DENIED as to its preemption argument.

                        PHH’s motion (doc. 147) also seeks summary judgment for the

                 corporate Plaintiffs’ failure to establish a prima facie case of

                 tortious interference.          The elements of tortious interference

                 with a business expectancy are: (1) the existence of a valid

                 contractual relationship or a business expectancy, (2) knowledge


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                 of the relationship or expectancy on the part of the interfering

                 party, (3) intentional interference inducing or causing a breach

                 or   termination        of   the   relationship   or   expectancy,     and   (4)

                 resultant damage to the party whose relationship or expectancy

                 has been disrupted.           Ballard Group, Inc. v. BP Lubricants USA,

                 Inc., 436 S.W.3d 445 (Ark. 2014).            In addition, the defendants’

                 conduct must be “improper,” and there must be some third party

                 involved.         Id.    The expectancy that is obstructed must be

                 precise, and it must be sufficiently concrete in order to

                 qualify as a business expectancy and survive summary dismissal.

                 See Skalla v. Canepari, 430 S.W. 3d 72 (Ark. 2013).

                       The    corporate        Plaintiffs     contend    they    lost   certain

                 contracts and business expectancies with third parties due to

                 the Tolers’ inability to obtain personal credit to provide

                 funding     for    the   corporations.       However,    the   contracts     and

                 expectancies are, at best, speculative.                 Further, aside from

                 general statements by Mr. Toler about being unable to fund his

                 corporations, the corporate Plaintiffs have not                    shown that

                 Defendants were aware of such expectancies, much less acted

                 improperly to interfere with them.

                       The Court finds that Defendants are entitled to summary

                 judgment on the corporate Plaintiffs’ tortious interference

                 claims, in part, as the corporate Plaintiffs have not shown that

                 their alleged business expectancies were sufficiently precise or


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                 concrete.   Accordingly, PHH’s motion (doc. 147) is GRANTED as to

                 the corporate Plaintiffs’ tortious interference claims, and

                 these claims are DISMISSED WITH PREJUDICE.

                       Experian moves for summary judgment on all claims for

                 damages sustained by the corporate Plaintiffs or in connection

                 with business transactions (doc. 152).              Experian’s motion is

                 DENIED AS MOOT to the extent it requests the Court to find the

                 corporate Plaintiffs lack standing to sue under the FCRA and

                 that the Tolers lack standing to assert claims on behalf of the

                 corporate Plaintiffs under the FCRA.           The Tolers conceded these

                 two issues, and the corporate Plaintiffs do not assert claims

                 pursuant to the FCRA.

                       PHH and Experian also move for partial summary judgment

                 against the Tolers’ FCRA claims to the extent they seek business

                 damages (docs. 149, 154).          The FCRA defines a consumer as an

                 “individual” and provides for actual damages sustained by the

                 consumer.      See 15 U.S.C. § 1681, et seq.            The FCRA does not

                 protect business entities or extend coverage to a consumer’s

                 business transactions.         Wisdom v. Wells Fargo Bank NA, 2012 WL

                 170900   (D.    Ariz.   Jan.    20,   2012).       Accordingly,     PHH    and

                 Experian’s motions (docs. 149, 154) are GRANTED to the extent

                 that the Tolers are prohibited from seeking business damages as

                 a matter of law.




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                       This Court previously advised the parties in this case that

                 arguments regarding the appropriate measure of damages would be

                 considered at the trial of this matter (doc. 105), and there are

                 now numerous motions in limine and motions to exclude evidence

                 pending.    The Court will consider these motions prior to trial.

                       PHH’s motion (doc. 149) is DENIED to the extent it seeks

                 the dismissal of Mr. Toler’s FCRA claim.         Experian admitted that

                 Mr. Toler’s dispute was incorrectly classified as a repeat

                 dispute on a joint account, and there is no question that PHH

                 and Experian were aware that both Mr. and Mrs. Toler were

                 disputing the reported information, in particularly, Mr. Toler.

                 IV.   Conclusion

                       For the forgoing reasons, the Tolers’ motion (doc. 144) is

                 DENIED.    Experian’s motion (doc. 152) is DENIED as to any FCRA

                 standing issues, and GRANTED as to any business damages sought

                 by the Tolers.     Any speculative or impermissible damages sought

                 by the Tolers remain the subject of pending motions in limine

                 and will be considered prior to trial.         Experian’s motion (doc.

                 154) as to the Tolers’ FCRA claims is DENIED to the extent it

                 seeks summary judgment on the issue of liability and DENIED

                 without    prejudice   to   Experian’s   right   to   a   ruling   on   the

                 availability of punitive damages closer to trial.           PHH’s motion

                 (doc. 147) is GRANTED IN PART and DENIED IN PART, and the

                 corporate Plaintiffs’ tortious interference claims are DISMISSED

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                  WITH PREJUDICE.      PHH’s motion (doc. 149) is DENIED as to Mr.

                  Toler’s claim pursuant to the FCRA, and GRANTED as to any

                  business   damages   sought   by   the   Tolers.      Any   impermissible

                  damages sought by the Tolers will be resolved prior to trial.

                  A jury trial remains scheduled for November 17, 2014.

                        IT IS SO ORDERED this 5th day of November 2014.

                                                     /s/ Robert T. Dawson
                                                     Honorable Robert T. Dawson
                                                     United States District Judge




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